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                 4                                   UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7      UNITED STATES OF AMERICA,                               Case No. 2:14-CR-220 JCM (GWF)
                 8                                              Plaintiff(s),                      ORDER
                 9              v.
               10       COLLETTE WINN, et al.,
               11                                             Defendant(s).
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               13              Presently before the court is the matter of United States of America v. Sone et al, case
               14       number 2:14-cr-00220-JCM-GWF-2, regarding defendant Collette Winn. On August 23, 2017,
               15       Winn filed a motion for early termination of supervised release. (ECF No. 62).
               16              Briefing shall proceed as follows: the government has twenty-one (21) days from the date
               17       of this order to file a response. Thereafter, defendant has fourteen (14) days to file a reply.
               18              Accordingly,
               19              IT IS HEREBY ORDERED that the government shall file a response to defendant’s motion
               20       for early termination of supervised release (ECF No. 62) later than twenty-one (21) days from the
               21       date of this order. Defendant shall file a reply within fourteen (14) days of the date the government
               22       responds.
               23              DATED September 7, 2017.
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               25                                                      UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
